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                                                                                UNITED STATES DISTRICT COURT
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                                                                          NORTHERN DISTRICT OF CALIFORNIA
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                                                                                   SAN FRANCISCO DIVISION
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                                               SARAH ROBBINS and TIFFANY SMITH,                     Case No.: 3:21-cv-03444-MMC
                                          18   individually and on behalf of all others similarly
                                               situated,                                            DEFENDANTS PLUSHCARE, INC.
                                          19                                                        AND PLUSHCARE OF CALIFORNIA,
                                                                  Plaintiffs,                       INC., A.P.C.’S REPLY IN SUPPORT
                                          20                                                        OF ITS MOTION TO DISMISS
                                                       v.                                           SECOND AMENDED COMPLAINT
                                          21                                                        PURSUANT TO FED. R. CIV. P.
                                               PLUSHCARE, INC. and PLUSHCARE OF                     12(b)(6) AND 9(b)
                                          22   CALIFORNIA, INC., A.P.C.,
                                                                                                    Date:    July 8, 2022
                                          23                      Defendants.                       Time:    9:00 a.m.
                                                                                                    Dept:    Courtroom 7, 19th Floor
                                          24                                                        Judge:    Honorable Maxine M. Chesney

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                                           1   I.       INTRODUCTION

                                           2            Plaintiffs’ Opposition Brief does not defend what they pleaded in their Second Amended

                                           3   Complaint (“SAC”) as the allegedly false statements or actionable omissions. Instead, Plaintiffs

                                           4   offer four theories about PlushCare’s website that they contend, even if not false or misleading on

                                           5   their own, amount to misrepresentations or actionable omissions when considered in combination.

                                           6   Even if Plaintiffs did adequately plead these theories (they did not), Plaintiffs’ new arguments do

                                           7   not identify a misrepresentation or actionable omission, let alone one that either Plaintiff Robbins

                                           8   or Smith allegedly relied on. Plaintiffs’ attempts to rehabilitate their other claims fare no better.

                                           9            Furthermore, there is no dispute that California law applies to this case. Applying California

                                          10   law precludes a nationwide class for claims brought under California’s Automatic Renewal Law

                                          11   (Bus. & Prof. Code §§ 17600 et. seq.) (“ARL”), because the legislature expressly limited the

                                          12   protections of that statute to California residents. Because Plaintiff Smith’s Unfair Competition
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                                          13   Law (Bus. & Prof. Code §§ 17200 et. seq.) (“UCL”) claim is premised on a violation of the ARL,

                                          14   which does not provide its own cause of action, and Plaintiff resides in Florida, the Court should

                                          15   dismiss her UCL claim and strike the class ARL class claims of other non-California residents.

                                          16   II.      ARGUMENT
                                          17
                                                        A.     PlushCare’s Motion to Dismiss and the Arguments Raised Therein Are Not
                                          18                   Waived or Barred from Consideration by Rule 12(g)

                                          19            A “court may consider the defense of failure to state a claim at any time before trial.” See,

                                          20   e.g., Sun Microsystems Inc. v. Hynix Semiconductor Inc., 534 F. Supp. 2d 1101, 1118 (N.D. Cal.

                                          21   2007). Waiver is not an issue here, because courts in this District and other districts of the Ninth

                                          22   Circuit have held that “under Rule 12(g), a party does not waive a ground for moving to dismiss

                                          23   for failure to state a claim by not including that ground in an earlier motion to dismiss.” In re

                                          24   Harmonic, Inc., Sec. Litig., 2006 WL 3591148, at *39-40 (N.D. Cal. Dec. 11, 2006); Wilson-Combs

                                          25   v. Cal. Dep’t of Consumer Affairs, 555 F. Supp. 2d 1110, 1113 n.3 (E.D. Cal. 2008) (“a defendant

                                          26   can move to dismiss an amended complaint for failure to state a claim based on arguments not

                                          27   raised in its first motion to dismiss.”). Because the defense of failure to state a claim cannot be

                                          28   waived, the arguments raised in PlushCare’s motion are not barred regardless of whether they were

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                                           1   raised in the motion to dismiss the First Amended Complaint. See Cal. Practice Guide: Fed. Civ.

                                           2   P. Before Trial § 9:17 (“[T]he fundamental defenses of . . . failure to state a claim . . . are never

                                           3   waived. These three grounds can be raised at any time, even if omitted in earlier pleadings.”).

                                           4          Plaintiffs’ reliance on Northstar Fin. Advisors Inc. v. Schwab Investments, 135 F. Supp. 3d

                                           5   1059 (N.D. Cal. 2015) and the other cases cited also overlooks significant intervening legal

                                           6   authority from the Ninth Circuit. See Opposition at 7-8 and cases cited therein. In In re Apple

                                           7   iPhone Antitrust Litig., the Ninth Circuit addressed and rejected the rigid and inefficient approach

                                           8   to Rule 12(g) that Plaintiffs advocate. 846 F.3d 313, 318-20 (9th Cir. 2017) (“Denying late-

                                           9   filed Rule 12(b)(6) motions and relegating defendants to the three procedural avenues specified

                                          10   in Rule 12(h)(2) can produce unnecessary and costly delays, contrary to the direction of Rule 1.”).

                                          11   Affirming the district court’s decision to consider an argument in a motion to dismiss that could

                                          12   have been brought in an earlier motion, the Ninth Circuit reasoned that Rule 12(g) should be read
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                                          13   in light of the Federal Rules of Civil Procedure’s policy favoring “just, speedy, and inexpensive

                                          14   determination” of lawsuits. Id. at 318; see also Fed. R. Civ. P. 1. The court observed that had the

                                          15   district court not considered the disputed argument at that time, the defendant would have simply

                                          16   filed a different motion to raise the same arguments, thereby delaying resolution of the proceeding

                                          17   with no corresponding benefit. Id. at 320. Accordingly, the court concluded that the defendant’s

                                          18   motion did not “appear to have been filed for any strategically abusive purpose” and considering

                                          19   the motion “materially expedited the district courts disposition of the case.” Id.

                                          20          Decisions applying In re Apple have recognized this adoption of “a more flexible and

                                          21   efficiency-oriented view of a district court’s ability to review arguments for the first time in a

                                          22   second motion to dismiss.” Symantec Corp. v. Zscaler, Inc., 2018 WL 1456678, at *2 (N.D. Cal.

                                          23   Mar. 23, 2018) (considering the argument Plaintiffs raise here and declining to follow Northstar)

                                          24   (citing In Re Apple, 846 F.3d 318. Under this approach, “[o]ther courts in this district have also

                                          25   considered second motions to dismiss raising new arguments where doing so would serve the

                                          26   interests of judicial economy.” Symantec, 2018 WL 1456678, at *2 (collecting cases).

                                          27          Here, Plaintiffs ask the Court to pass on the opportunity to narrow the case through a motion

                                          28   to dismiss, notwithstanding the fact that PlushCare could indisputably raise those same arguments

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                                           1   by a motion for judgment on the pleadings under Rule 12(c) as authorized by Rule 12(h)(2). See

                                           2   In re Apple, 846 F.3d at 318. PlushCare did not raise those issues in the motion to dismiss for abuse

                                           3   or delay. Plaintiffs amended the FAC to expand their claims, and PlushCare’s motion to dismiss

                                           4   based on those additions is not precluded by Rule 12(g). Therefore, it is permissible and more

                                           5   efficient for PlushCare to the raise arguments it was otherwise prepared to raise under Rule 12(c)

                                           6   in one consolidated motion to dismiss.

                                           7          B.      Plaintiffs Offer New Misrepresentation Theories, None of Which Save Their
                                                              Fraud-Based Claims
                                           8
                                                      Rather than addressing the allegations they did make in the SAC, Plaintiffs offer four new
                                           9
                                               theories in an attempt to save their fraud-based theories: (1) that PlushCare was obligated to
                                          10
                                               describe the membership on its How it Works webpage but failed to do so, (2) that PlushCare
                                          11
                                               represented to consumers that pressing “Book Appointment” would book an appointment and not
                                          12
                                               include the terms under which PlushCare expressly offered that appointment to them, (3) that
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                                          13
                                               PlushCare’s Terms of Use contain two allegedly false statements, and (4) that PlushCare misled
                                          14
                                               consumers regarding the meaning of “Create profile.” Opp. at 10. Taken separately or as a
                                          15
                                               collective, these theories new theories do not save Plaintiffs’ fraud-based claims from dismissal.
                                          16                  1.      PlushCare’s “How It Works” Webpage
                                          17          The How it Works page on PlushCare’s website does not omit any material fact that
                                          18   PlushCare was obligated to disclose, because PlushCare’s membership program is not contrary to
                                          19   any representation made on the How it Works page. Hodsdon v. Mars, 891 F.3d 857, 865-68 (9th
                                          20   Cir. 2018). As described by Plaintiffs, the How it Works page does not describe the online booking
                                          21   process at all; instead, it describes the process by which users can engage with a doctor via
                                          22   telemedicine. SAC ¶ 15. Plaintiffs also admit that the PlushCare website itself includes an entire
                                          23   section about the membership. SAC ¶ 15 n. 1. Therefore, the absence of a description of the
                                          24   membership program on a single page is not an actionable misrepresentation.
                                          25                  2.      “Book Appointment” Button

                                          26          Plaintiffs’ argument that that the “book appointment” button on the final checkout screen

                                          27   was a misleading representation because the text contained within the button did not reference a

                                          28   membership is not plausible. Plaintiffs improperly focus on the words “book appointment” in

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                                           1   isolation without viewing them in the context of other disclosures appearing on the checkout page

                                           2   at the very moment a consumer selects that button. SAC Ex. 2. The “book appointment” button is

                                           3   simply a button to confirm a transaction — not the entire agreement. The terms of the transaction,

                                           4   including enrollment in a membership plan with a 30-day free trial, are disclosed in black and white

                                           5   in the “review order summary” on the same page as the button itself. SAC, Ex. 2.1 The order

                                           6   summary (SAC, Ex. 2) and “learn more” hyperlink on that same page (SAC, Ex. 3) disclose that

                                           7   the doctor’s visit is only being offered to the consumer online with the monthly membership. SAC

                                           8   Exs. 2 & 3. By selecting “book appointment”, the consumer accepts those contractual terms on

                                           9   which PlushCare offered to sell the appointment and books their appointment.

                                          10           Additionally, Plaintiffs misleadingly characterize the plain terms of the transaction

                                          11   (including “Monthly Membership” and “$14.99 billed after 30 days” (id.)) as a “pop-up”

                                          12   throughout their Opposition, implying that the terms appear in a separate window or somewhere to
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                                          13   which users would have to divert their attention. Opp. at 11, 17 n.5, 29. This is incorrect, as

                                          14   Plaintiffs’ exhibit plainly shows. SAC Ex. 2. These terms appear on the same webpage as the other

                                          15   terms of the transaction, and users such as Plaintiffs must scroll past those terms to reach the “book

                                          16   appointment” button. Id. If Plaintiffs take issue with the fact that the information appears

                                          17   dynamically as the user interacts with the form (as is the case with virtually every modern website),

                                          18   they have not alleged that this feature somehow detracts from or invalidates the terms.

                                          19           PlushCare’s checkout page is similar to another webpage a court held was not misleading,

                                          20   even though in that case, additional charges were not disclosed unless a consumer clicked on a

                                          21   hyperlink that explained the charges. In Charbonnet v. Omni Hotels & Resorts, 2020 WL 7385828,

                                          22   at *3 (S.D. Cal. Dec. 16, 2020), the plaintiff challenged a “property fee” that was not listed in the

                                          23   advertised price for a hotel room. The Court noted that on the very same page as the advertised

                                          24   price, the page referred to “taxes & fees” and the consumer could click on a hyperlink to find out

                                          25   more before completing the transaction. Id. at *4. Thus, the defendant presented a disclosure to

                                          26   the consumer that the room was offered with that fee included and before the consumer booked the

                                          27
                                               1
                                                Although Exhibit 2 has a page break in the middle, it should be noted that the entire checkout
                                          28   page on the website is a continuous screen with no break.
                                               PLUSHCARE’S REPLY ISO MOTION TO DISMISS           4                        Case No.: 3:21-cv-03444-MMC
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                                           1   room. Here, plaintiffs did not even need to click on a separate link; the membership enrollment

                                           2   was disclosed on the same page and in even larger text than the “book appointment” button.

                                           3                  3.      The Terms of Use

                                           4          Plaintiffs’ argument that the Terms of Use support their fraud claims is also implausible.

                                           5   Plaintiffs appear to argue that “PlushCare charges a monthly membership fee (the ‘Membership

                                           6   Fee’) for access to certain features of the Services” is false by omission. Opp. at 12-17. Plaintiffs

                                           7   do not articulate what about this sentence is false. It is, in fact, true that a membership is required

                                           8   for “certain” features. Plaintiffs argue that there is no disclosure that online booking is only

                                           9   available for members, but this sentence suggests nothing to the contrary.

                                          10          Second, Plaintiffs argue that the Terms of Use “state a membership is not required to use

                                          11   the service,” which they claim is false. Opp. at 12:18. Although they cite to the SAC at paragraph

                                          12   136, this fact is not alleged in that paragraph. Nor is it alleged in paragraph 18 of the SAC, the only
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                                          13   other citation Plaintiffs offer to the SAC for this argument. In fact, as Plaintiffs’ own allegations

                                          14   show, a membership is not required to book an appointment through PlushCare’s 1-800 number.

                                          15   SAC, Ex. 3. And, PlushCare’s Terms of Use accurately inform users that there are options for

                                          16   accessing a healthcare provider without being a member, and they direct consumers to an email

                                          17   address to obtain more information. Dkt. 24-7 (PlushCare’s Terms of Use) at 18 (“There are

                                          18   options for accessing Provider Services on the Service without the Subscription and payment of

                                          19   this fee. To learn more about the Monthly Membership Fee contact us at info@plushcare.com”).

                                          20   Plaintiffs argue that these Terms of Use do not apply to PlushCare members who book an

                                          21   appointment through the 1-800 number because the Terms of Use only apply to those who book

                                          22   online. That is false. The Terms of Use apply to users who manage their account online and who

                                          23   access PlushCare’s telehealth services, even if they did not book the appointment online. Dkt. 24-

                                          24   7 at 2-3 (“The Service is a platform individuals may use to manage their health and receive email,

                                          25   telephone and telecommunications-enabled care from physicians and other health care

                                          26   professionals employed by or contracted with the Providers. By accessing and/or using the Service

                                          27   you agree to be bound by these Terms of Use (this ‘Agreement’), whether or not you register as a

                                          28   member of PlushCare (‘Member’).”) (emphasis added).

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                                           1                  4.      Create a Profile

                                           2          Nowhere in the SAC do Plaintiffs allege that the “Create Profile” page is used to create a

                                           3   membership, as they now argue. See generally SAC. Nor could they honestly make such an

                                           4   allegation because, as the parties and the Court are aware, the consumer accepts enrollment in the

                                           5   membership on the checkout page. SAC, Ex. 2. Moreover, when Plaintiff Robbins created her

                                           6   PlushCare account, PlushCare was not a membership-only online service.              SAC ¶¶ 37-38.

                                           7   Therefore, Plaintiffs fail to point to any allegations in the SAC that “Create Profile” is a

                                           8   misrepresentation or that it could be.

                                           9          C.      Plaintiffs Fail to Allege Reliance

                                          10          Each of Plaintiffs’ fraud-based state law claims require Plaintiffs to plead a

                                          11   misrepresentation or actionable omission (if applicable) and reliance thereon. However, Plaintiffs’

                                          12   argument about reliance in the Opposition is completely disconnected from the statements they
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                                               now contend are misleading. Instead, they argue that due to Defendants’ alleged violation of the
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                                          13

                                          14   California ARL, “Plaintiffs were not aware when they booked their appointments that they would

                                          15   be placed into Defendants’ monthly membership program.” Opp. at 6. Plaintiffs do not, however,

                                          16   address how they relied on what they now claim are the allegedly false or misleading statements

                                          17   on PlushCare’s website, either separately or as a collective.

                                          18                  1.      PlushCare’s “How it Works” Webpage

                                          19          Neither Plaintiff alleges that she even viewed PlushCare’s “How it Works” webpage. SAC

                                          20   ¶¶ 30-47 (Robbins’ allegations); 48-60 (Smith’s allegations). Therefore, Plaintiffs fail to allege

                                          21   any reliance on this webpage or its representations. Nor would reliance on this one webpage be

                                          22   reasonable, given the several, specific disclosures about the membership that appear elsewhere on

                                          23   PlushCare’s website and during the enrollment process.

                                          24                  2.      “Book Appointment” Button

                                          25          Neither Plaintiff alleges that she noticed the words “book appointment” on the transaction

                                          26   confirmation button. SAC ¶¶ 30-47 (Robbins’ allegations); 48-60 (Smith’s allegations). Even if

                                          27   they did (an allegation outside of the pleadings), they also fail to allege how they understood the

                                          28   button. Accordingly, Plaintiffs fail to establish that their supposed interpretation was a reasonable

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                                           1   one. In any event, they could not have reasonably formed a belief that clicking “book appointment”

                                           2   excluded the terms of completing the transaction expressly laid out in the “review order summary”

                                           3   section of the same page. See Charbonnet, 2020 WL 7385828, at *5 (“Plaintiff continued with

                                           4   booking a room at the Omni. The fact that Plaintiff completed her reservation and paid the higher

                                           5   total price, knowing it was more than the advertised daily rate, shows that the addition of taxes and

                                           6   fees ultimately had no effect on her decision to book a room there. Plaintiff therefore cannot show

                                           7   that she would have behaved any differently as the allegedly “omitted” property fee was disclosed

                                           8   in the total price and she accepted it.”). Neither Plaintiff has plausibly alleged that she reasonably

                                           9   interpreted the button completing the enrollment process to literally do nothing beyond book an

                                          10   appointment, notwithstanding the express terms to the contrary on the very same page.

                                          11                  3.      The Terms of Use

                                          12           Neither Plaintiff claims to have seen or read the Terms of Service. SAC ¶¶ 30-47 (Robbins’
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                                          13   allegations); 48-60 (Smith’s allegations). Therefore, Plaintiffs cannot have relied on any alleged

                                          14   misrepresentation therein.

                                          15                  4.      Create a Profile

                                          16           Plaintiff Robbins alleges that she created her PlushCare account before PlushCare offered

                                          17   a membership service. SAC ¶¶ 37-38. Therefore, even accepting Plaintiffs’ new factual argument,

                                          18   it would not apply to Plaintiff Robbins. Moreover, Plaintiff Smith has not alleged what the account

                                          19   creation screens looked like when she created her account. See generally SAC.2 But, regardless

                                          20   of the account creation screens, neither Plaintiff alleged that they formed any belief or relied on the

                                          21   label “create profile.” SAC ¶¶ 30-47 (Robbins’ allegations); 48-60 (Smith’s allegations).

                                          22           D.     Plaintiffs Fail to Connect Any Alleged Misrepresentation or Omission to
                                                              Their CLRA Claim
                                          23
                                                       To state a claim under the CLRA, Plaintiffs acknowledge that they must allege reliance on
                                          24
                                               an actionable misrepresentation or omission of the type enumerated in the statute, as well as injury.
                                          25

                                          26   2
                                                 Plaintiffs cite to Exhibit 2 to the Declaration of Abhi Pathak (Opp. at 13:17) for what the Create
                                          27   Profile screen looked like when Plaintiff Robbins created her account. But, Plaintiffs opposed the
                                               request for judicial notice of this Exhibit 2 in part on the ground it is “subject to dispute.” Dkt. 28
                                          28   (Opposition to Defendants’ Request for Judicial Notice) at 2:8.
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                                           1   See Opp. at 15. The SAC limits the CLRA claim to subsections (a)(5) and (a)(14). SAC ¶¶ 120,

                                           2   124. However, Plaintiffs make no effort to tie their new theories of misrepresentation and omission

                                           3   to either subsection, and the Opposition fails to save that claim.

                                           4          First, in attempting to establish a violation of subsection (a)(5) or (a)(14), Plaintiffs

                                           5   incorrectly assume that pleading a violation of the ARL (which concerns visual aspects of a

                                           6   disclosure, such as proximity, font size, coloring, and other formatting) can establish a shortcoming

                                           7   of the CLRA’s much more specific requirements. But the subsections of the CLRA Plaintiffs assert

                                           8   concern a misrepresentation about “sponsorship, approval, characteristics, ingredients, uses,

                                           9   benefits, or quantities” of goods and services ((a)(5)) or the “rights, remedies, or obligations” that

                                          10   a transaction confers or involves ((a)(14)).          Noncompliance with the ARL’s formatting

                                          11   requirements does not establish any such actual misrepresentation. The Court’s prior order held

                                          12   that Plaintiff Robbins adequately pled “that the ‘automatic renewal offer terms’; on the PlushCare
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                                          13   website were not ‘in visual proximity’ to ‘the request for consent to the offer’” — not that there

                                          14   were no automatic renewal terms or that Plaintiffs alleged a misrepresentation of the type

                                          15   contemplated by subsections (a)(5) or (a)(14).         Order (Dkt. 35) at 2.       Indeed, the SAC

                                          16   unambiguously shows that the membership terms were disclosed to Plaintiffs. SAC Ex. 2. In other

                                          17   words, a plausibly pled ARL violation does not require the Court to ignore the disclosures that are

                                          18   present. Plaintiffs therefore cannot plausibly allege, contrary to the argument they make in their

                                          19   Opposition that the membership terms were not disclosed.

                                          20          Plaintiffs’ reliance on Price v. Synapse Group, Inc., 2017 WL 3131700 (S.D. Cal. July 24,

                                          21   2017) to bridge the gap between an alleged ARL violation and a CLRA-actionable

                                          22   misrepresentation is misplaced. Price does not hold that an alleged violation of the ARL, standing

                                          23   alone, is sufficient to plead a violation of the CLRA. Indeed, the Court granted the motion to

                                          24   dismiss two of four alleged CLRA subsections for failure to connect the alleged misrepresentation

                                          25   to the statutory language. Id. at *8-9. Here, the terms of booking an appointment were disclosed

                                          26   on the checkout page (the only page Plaintiffs allegedly relied on), even if Plaintiffs can allege that

                                          27   PlushCare did not send a confirming email to Plaintiff Robbins or comply with some of the ARL’s

                                          28   formatting requirements. Furthermore, Plaintiffs nowhere allege how PlushCare “represented a

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                                           1   transaction confers or involves rights, remedies, or obligations which it does not have or involve,

                                           2   or which are prohibited by law” as require to plead a violation of Section 1770(a)(14).

                                           3          Second, Plaintiffs do not persuasively argue that their CLRA claim goes further than the

                                           4   ARL allegations. They argue that the four new misrepresentations taken “as a whole cause

                                           5   consumers to reasonably believe that a membership is a separate purchase, is not necessary to book

                                           6   an appointment online.” Opp. at 25. In other words, Plaintiffs hope that these four alleged

                                           7   misrepresentations, see supra Section II.B, in the aggregate (but not on their own) can state a claim

                                           8   under the CLRA. If Plaintiffs failed to plead any single one as an actual misrepresentation or that

                                           9   they actually relied upon it, the CLRA claim concededly fails. Because Plaintiffs have in fact failed

                                          10   to plead that any of these are actionable misrepresentations, or that they relied on any to their

                                          11   detriment, supra Section II.B, their CLRA claim necessarily fails.

                                          12          E.      Plaintiffs’ Opposition Fails to Salvage Their Theft Claim
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                                          13          Plaintiffs misconstrue the motion to dismiss their theft claim, arguing that “Defendants’

                                          14   primary argument against a claim of theft is a lack of knowledge that their advertising, Website,

                                          15   and booking flow deceives consumers into memberships.” Opp. at 20:21-22. Although it is true

                                          16   that the SAC fails to allege that PlushCare knew its advertising, website, or booking flow were

                                          17   deceptive (they are not), such knowledge is immaterial to a claim for theft. Rather, the knowledge

                                          18   required is knowledge that the property at issue was stolen. See Mot. Dismiss Second Am. Compl.

                                          19   (Dkt. 51) (“Br.”), 18:6-7; see also, e.g., U.S. v. Flores, 901 F.3d 1150, 1161 (9th Cir. 2018). To

                                          20   establish that their membership fees were stolen under Section 496, Plaintiffs must allege the

                                          21   elements of theft, including specific intent to defraud. AdTrader, Inc. v. Google, LLC, 2018 WL

                                          22   3428525, at *9 (N.D. Cal. July 13, 2018) (dismissing a Section 496 claim with prejudice because

                                          23   the plaintiff did not allege that Google obtained stolen property by grand theft, petty theft,

                                          24   embezzlement or extortion). In other words, Plaintiffs must plausibly allege that PlushCare knew

                                          25   that the property at issue was taken in a manner that constitutes theft. Plaintiffs fail to allege facts

                                          26   supporting a plausible inference of theft. See generally SAC ¶¶ 145-154. Instead, Plaintiffs merely

                                          27   rely on a restatement of their central theory that PlushCare failed to comply with the California

                                          28

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                                           1   ARL, a strict liability statute. See id. ¶ 153 (describing the “unlawful means” used to obtain money

                                           2   in terms of “violation of § 17602 of the Automatic Renewal Law”).

                                           3          In an attempt to cure the deficiencies in the SAC, Plaintiffs seek to introduce an April 23,

                                           4   2021 announcement by Accolade of its acquisition of PlushCare and a subsequent Form 10-Q filing

                                           5   by Accolade, which Plaintiffs characterize as showing that PlushCare knew, in 2020, that the

                                           6   property was stolen. Opp. 21:11-22:6; see also Declaration of Alexis M. Wood Exs. A & B. But,

                                           7   the Form 10-Q simply shows that Accolade acknowledged that Plaintiff Robbins initiated this suit

                                           8   and alleged a violation of the ARL on behalf of herself and California consumers. See id. Ex. B

                                           9   (describing the lawsuit and allegations of violation of the ARL). The existence of litigation does

                                          10   not imply that the claims made therein are true. Further, any knowledge or belief that Accolade

                                          11   had on April 23, 2021 or thereafter obviously says nothing about the intent or knowledge of

                                          12   PlushCare in establishing the autorenewal practices that Plaintiffs claim constitute theft by false
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                                          13   pretenses in early 2020. Moreover, Accolade’s acknowledgement that any change could impact

                                          14   PlushCare’s business financially does not establish that PlushCare somehow knew that it obtained

                                          15   membership fees by means of theft, let alone that it did so knowing that it was obtaining the money

                                          16   by theft, which is what Plaintiffs must plead but concededly did not (and cannot).

                                          17          F.      The FAL and UCL “Unfairness” Claims Should Be Dismissed Because They,
                                                              Too, Sound in Fraud
                                          18
                                                      Plaintiffs do not dispute that the UCL unfairness claim substantively overlaps with the other
                                          19
                                               fraudulent misrepresentation claims, but instead embrace this understanding and analyze the UCL
                                          20
                                               claim alongside the False Advertising Law (Bus. & Prof. Code §§ 17500 et. seq.) (“FAL”) claim.
                                          21
                                               See Opp. 17-20. Because Plaintiffs do not contest that their FAL claim sounds in fraud, and thus
                                          22
                                               the unfairness claim does too, the SAC falls short of alleging sufficient facts to satisfy Rule 9(b).
                                          23
                                               See Br., Section VI.A.        Instead, Plaintiffs concede that “the same non-disclosure and
                                          24
                                               misrepresentations listed in the SAC regarding Defendants’ violations of the ARL and EFTA are
                                          25
                                               the same with respect to Defendants’ violations of California’s consumer protection statutes.” Opp.
                                          26
                                               18:21-24. In pointing this fact out, Plaintiffs’ own Opposition acknowledges the underlying flaw
                                          27
                                               in each of these claims (and all fraud-based claims): they must be pled with additional particularity
                                          28

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                                           1   under Rule 9(b), and contain additional elements not required to plead a violation of the EFTA or

                                           2   ARL. See generally Br., Section VI.A.

                                           3          Given their reliance on the ARL, Plaintiffs misleadingly cite to Kwikset for the proposition

                                           4   that a mere violation of a statute gives rise to standing under the FAL or UCL. See Opp. 20:6-9

                                           5   (“UCL and FAL claims are further established by allegations that a plaintiff suffered an ‘injury-in-

                                           6   fact’ ‘as a result of’ a statutory violation.”) (citing Kwikset Corp. v. Superior Ct., 51 Cal. 4th 310,

                                           7   322 (2011)). But Kwikset does not stand for the proposition that an FAL or UCL misrepresentation

                                           8   claim can be pled merely by a statutory violation (i.e., violation of the ARL as Plaintiffs urge).

                                           9   That case states the effect of California’s Proposition 64, namely that it established the requirement

                                          10   of a plaintiff to show reliance in a UCL or FAL action. Kwikset, 51 Cal. 4th at 321-22 (standing

                                          11   under the FAL extends to “any person who has suffered injury in fact . . . as a result of violation

                                          12   this chapter”) (quoting Bus. & Prof. Code § 17535) (emphasis added). An FAL claim must be
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                                          13   based on a violation of the FAL, through a misrepresentation in the form of false advertising. See

                                          14   id. at 322 (FAL standing requires an injury caused by false advertising). While a violation of a

                                          15   statute that results in damages can sustain a UCL claim under the unlawful prong (see Cel-Tech

                                          16   Commc’ns, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999)), a claim under the

                                          17   CLRA, FAL, or the other two UCL prongs (fraudulent and unfairness) cannot be sustained based

                                          18   on an alleged violation of a statute without more. Specifically, each of these claims require

                                          19   Plaintiffs to plead a particular misrepresentation on which the plaintiff relied, and they are

                                          20   considered species of fraud and as such require additional particularity. As the California Supreme

                                          21   Court recognized in Kwikset — which was “based on a fraud theory involving false advertising and

                                          22   misrepresentations to consumers” — plaintiffs must “demonstrate actual reliance on the allegedly

                                          23   deceptive or misleading statements, in accordance with well-settled principles regarding the

                                          24   element of reliance in ordinary fraud actions.” Id. at 326-27. Plaintiffs fail to plead either.

                                          25          As with their other misrepresentation claims, Plaintiffs appeal to new theories of

                                          26   misrepresentation raised via briefing rather than defend the allegations in the SAC. Plaintiffs

                                          27   defend this approach by claiming a purported misrepresentation can only be ascertained when

                                          28   considering alleged facts generally, rather than assessing them particularly: “Again, not just one

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                                           1   misrepresentation can be looked at alone in providing a consumers’ view of how he or she would

                                           2   understand Defendants’ service to work.” Opp. 18:28-19:1. The Opposition goes on to state that

                                           3   the misrepresentation can only be established by considering all of the four new theories discussed

                                           4   above together (see supra Section II.B (describing four new theories of misrepresentation)), rather

                                           5   than by considering any particular misrepresentation. Id. 19:2-7 (“All these misrepresentations as

                                           6   a whole cause consumers to reasonably believe that a membership is a separate purchase, is not

                                           7   necessary to book an appointment online.”). Therein lies the inadequacy of Plaintiffs’ allegations:

                                           8   Plaintiffs fail entirely to allege that they saw or relied on any of those four aspects of the website

                                           9   or advertising in booking their appointment. Accordingly, given that they fail to establish reliance

                                          10   on any of those alleged misrepresentations (let alone on all four in aggregate as Plaintiffs argue are

                                          11   needed to establish the purported deception), Plaintiffs fail to state a claim based on even the new

                                          12   theories of misrepresentation that they have raised in their Opposition.
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                                                      G.      Even if Unjust Enrichment Is a Cause of Action Under California Law,
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                                          13
                                                              Plaintiffs Plead Themselves Out of the Claim by Alleging a Binding Contract
                                          14
                                                      Under well-established precedent in this District and recent California appellate court
                                          15
                                               authority, unjust enrichment is not a standalone cause of action and claims purporting to be such a
                                          16
                                               claim may properly be dismissed. See Br. at 19; see also Brodsky v. Apple Inc., 445 F. Supp. 3d
                                          17
                                               110, 132 (N.D. Cal. 2020) (collecting California and federal cases). Rather than contend with the
                                          18
                                               majority position, Plaintiffs restate the minority position that claims for unjust enrichment can be
                                          19
                                               construed as a quasi-contract claim for restitution. See Opp. at 22-23. But, even under the minority
                                          20
                                               position, “an action based on an implied-in-fact or quasi-contract cannot lie where there exists
                                          21
                                               between the parties a valid express contract covering the same subject matter.” Tsai v. Wang, 2017
                                          22
                                               WL 2587929, at *7 (N.D. Cal. June 14, 2017); Klein v. Chevron U.S.A., Inc., 202 Cal. App. 4th
                                          23
                                               1342, 1388 (2012) (“A plaintiff may not . . . pursue or recover on a quasi-contract claim if the
                                          24
                                               parties have an enforceable agreement regarding a particular subject matter.”); see also Opp. 23:4-
                                          25
                                               6 (“By definition, an unjust enrichment claim may proceed when there is no actual wholly
                                          26
                                               integrated contract covering the subject matter at issue.”) (citing Wright v. Old Gringo Inc., 2019
                                          27
                                               WL 3804020, at *6 (S.D. Cal. Aug. 13, 2019)).
                                          28

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                                           1          Plaintiffs do not dispute the validity of the contract and Terms of Use in the SAC, and

                                           2   instead affirm its validity by referencing its terms and incorporating the choice of law provision in

                                           3   the SAC. See SAC ¶¶ 73-74. Despite this, Plaintiffs argue that “although Plaintiffs do not dispute

                                           4   an agreement or contract to pay fees for the one-time doctor’s visit, any purported contact [sic] with

                                           5   Defendant for a membership and membership fees is unenforceable.” Opp. 23:7-19. And while it

                                           6   is true that “a plaintiff may plead inconsistent claims that allege both the existence of an enforceable

                                           7   agreement and the absence of an enforceable agreement” in the alternative, a quasi-contract claim

                                           8   for restitution must be dismissed where, as here, the plaintiff “pleaded the existence of an

                                           9   enforceable agreement and their unjust enrichment claim did not deny the existence or

                                          10   enforceability of that agreement.” Klein, 202 Cal. App. 4th at 1389 (dismissing claim for unjust

                                          11   enrichment because plaintiffs failed to “provide any explanation as to why the consumer sales

                                          12   agreement referenced in their breach of contract claim might be unenforceable or otherwise not
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                                          13   qualify as a contract”). Courts in California have consistently held that where, as here, a plaintiff

                                          14   acknowledges the validity of certain portions of a contract, they may not pursue a claim for unjust

                                          15   enrichment by purporting to plead the agreement is unenforceable in the alternative. California

                                          16   Med. Ass’n, Inc. v. Aetna U.S. Healthcare of California, Inc., 94 Cal. App. 4th 151, 172-73 (2001)

                                          17   (collecting cases). Here, Plaintiffs argue that the choice of law provision in the Agreement they

                                          18   have with PlushCare is enforceable and cite to the terms of use as relevant facts to their claims.

                                          19   They do not, as may be permissible under some authority, bring a claim for breach of contract and

                                          20   an alternative claim for unjust enrichment in case of the failure of the contract. Plaintiffs are

                                          21   therefore precluded from asserting a quasi-contract claim.

                                          22          In addition to failing to show they may recover on a quasi-contract claim when there exists

                                          23   a valid contract between the parties, Plaintiffs also fail to show how they are not precluded from

                                          24   bringing a claim for unjust enrichment when they have chosen to “sue in tort” rather than “waiv[e]

                                          25   the tort.” See McBride v. Boughton, 123 Cal. App. 4th 379, 388 (2004); Br. at 20. Courts in this

                                          26   district and elsewhere have consistently held that where a plaintiff, as here, brings statutory and

                                          27   common law claims sounding in fraud, any unjust enrichment claim based on the same theory

                                          28   should be dismissed. See In re Apple and AT&T iPad Unlimited Data Plan Litig., 802 F. Supp. 2d

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                                           1   1070, 1077 (N.D. Cal. 2011) (holding “plaintiffs cannot assert unjust enrichment claims that are

                                           2   merely duplicative of statutory or tort claims”) (citing cases). Accordingly, Plaintiffs fail to show

                                           3   why their unjust enrichment claims should not be dismissed.

                                           4          H.      Plaintiffs Fail to Plead a Conversion Claim

                                           5          Plaintiffs fail to distinguish authority from the California Court of Appeal finding that

                                           6   factual allegations like those in the SAC fail to state a claim for conversion under California law

                                           7   (see Br. at 21-22). The sole basis for Plaintiffs’ conversion claim is an alleged violation of the

                                           8   ARL. See Opp. 24:14-18. But, Plaintiffs have failed to plead any affirmative act on PlushCare’s

                                           9   part sufficient to establish liability for conversion. See Br. at 22:13-22; see also Archer v. Coinbase,

                                          10   Inc., 53 Cal. App. 5th 266, 276 (2020); Spates v. Dameron Hosp. Ass’n, 114 Cal. App. 4th 208,

                                          11   222 (2003) (“[C]onversion requires affirmative action to deprive another of property, not a lack of

                                          12   action.”). Plaintiffs also fail to address the failure to establish anything more than a mere demand
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                                          13   for reimbursement of money paid, which is not recognized as a conversion claim in California. See

                                          14   e.g., Romero v. Securus Techs., Inc., 216 F. Supp. 3d 1078, 1094 (S.D. Cal. 2016) (“[T]he crux of

                                          15   Plaintiffs’ claim is that Defendant charged them for services they otherwise would not have

                                          16   used . . . . But as the California Court of Appeal has noted, there is no support for the position that

                                          17   an overcharge, without more, gives rise to a claim for conversion.”).

                                          18          In addition, Plaintiffs have not meaningfully alleged that their acceptance of the terms

                                          19   presented during the enrollment process did not constitute effective consent. See SAC, Exs. 2 & 3.

                                          20   They have only alleged, at best, that they did not understand those terms. See, e.g., SAC ¶¶ 30-31

                                          21   (describing Plaintiff Robbins’ consent to the transaction). But, a plaintiff’s consent to the transfer

                                          22   at issue defeats a claim for conversion. See Klett v. Sec. Acceptance Co., 38 Cal. 2d 770, 789

                                          23   (1952); Driver v. Acquisto, 145 Cal. App. 2d 304, 308 (1956); see also Br. at 21-22. Thus, there is

                                          24   no viable claim for conversion because the transfers at issue were authorized by consent and not

                                          25   appropriated by an affirmative act by PlushCare. See Br. at 22.

                                          26

                                          27

                                          28

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                                           1           I.     Non-California Residents May Not Bring a UCL Claim Premised on Violation
                                                              of the ARL
                                           2
                                                       Finally, Plaintiffs attempt to show that non-California residents may bring a UCL claim for
                                           3
                                               violation of the ARL because PlushCare’s Terms of Use state that California law applies to the
                                           4
                                               contract between it and these consumers. This position is incorrect and contrary to the express
                                           5
                                               language of the ARL.3 California’s ARL unambiguously provides that it applies only to “a
                                           6
                                               consumer in this state.” Cal. Bus. & Prof. Code § 17602(a). PlushCare’s Terms of Use do not
                                           7
                                               render non-Californians “consumers in this state.”
                                           8
                                                       Many other states have their own automatic renewal laws that equally apply only to
                                           9
                                               consumers in those states. See, e.g., N.Y. Gen. Bus. Law § 527-a (“to a consumer in this state”);
                                          10
                                               Colo. Rev. Stat. Ann. § 6-1-732 (“to a consumer in this state”). PlushCare’s Terms of Use do not
                                          11
                                               allow PlushCare to substitute California law for New York or Colorado law as to consumers in
                                          12
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                                               those states. Rather, under California law, PlushCare must comply with California’s ARL as to
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                                          13
                                               California consumers, New York’s ARL as to New York consumers, Colorado’s ARL as to
                                          14
                                               Colorado consumers, and so forth. Accordingly, Plaintiff Smith and other out-of-state consumers
                                          15
                                               like her cannot state a UCL claim against PlushCare predicated on the California ARL, which does
                                          16
                                               not protect them. See Wahl v. Yahoo! Inc., 2017 WL 4098884, at *1 (N.D. Cal. Sept. 15, 2017)
                                          17
                                               (“Wahl [a Missouri resident] has not pled facts to establish a violation of California’s Automatic
                                          18
                                               Renewal Law. That law proscribes certain unlawful conduct by ‘any business making an automatic
                                          19
                                               renewal or continuous service offer to a consumer in this state.’”) (emphasis in original). To hold
                                          20
                                               otherwise would supplant the will of those states’ legislatures to enact (or not to enact) laws that
                                          21
                                               prescribe the automatic renewal requirements applicable to its consumers.
                                          22
                                               III.    CONCLUSION
                                          23
                                                       PlushCare’s Motion to Dismiss should be granted, with the dismissed claims being
                                          24
                                               dismissed with prejudice.
                                          25

                                          26   3
                                                 Plaintiffs also oppose the motion on the grounds that they have alleged a violation of the EFTA.
                                          27   However, the EFTA was not pled as a predicate basis for the UCL claim; Plaintiffs only rely on the
                                               alleged violation of the ARL. See SAC ¶¶ 91-109 (mentioning only the ARL and brought on behalf
                                          28   of the Nationwide Class and California Subclass, but not the Nationwide EFTA Class).
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                                           2
                                               Dated: June 24, 2022                      FENWICK & WEST LLP
                                           3

                                           4                                             By: /s/ Tyler G. Newby
                                                                                             Tyler G. Newby
                                           5

                                           6                                                 Attorneys for Defendants
                                                                                             PLUSHCARE, INC. and PLUSHCARE OF
                                           7                                                 CALIFORNIA, INC., A.P.C.

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F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




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                                               PLUSHCARE’S REPLY ISO MOTION TO DISMISS     16                     Case No.: 3:21-cv-03444-MMC
                                               SECOND AMENDED COMPLAINT
